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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

VICKI JO LEWIS, individually and as         )
 co-Personal Representative of the          )
ESTATE OF ISAIAH MARK LEWIS,                )
deceased; and TROY LEVET LEWIS,             )
individually and as co-Representative of    )
the ESTATE OF ISAIAH MARK                   )
LEWIS, deceased,                            )
                                            )
                        Plaintiff,          )
v.                                          )          Case No. CIV-19-489-R
                                            )
                                            )
CITY OF EDMOND, an Oklahoma                 )
Municipal Corporation; POLICE SGT.          )
MILO BOX and POLICE OFFICER                 )
DENTON SCHERMAN, individually,              )
                                            )
                        Defendants.         )

                                        ORDER

      Before the Court are Motions to Exclude the opinions and testimonies of experts

filed by Plaintiffs and Defendants. Doc. Nos. 62, 63, 67, and 68. In Doc. No. 62 and 63,

Defendants move to exclude the opinions of Dr. James Filkins and Gregory Gilbertson.

Plaintiffs responded in opposition to both motions in Doc. Nos. 77 and 78. In Doc. Nos. 67

and 68, Plaintiffs move to exclude the opinions of Steve Ijames and Thomas C. Kupiec.

Defendants responded in opposition in Doc. Nos. 75 and 76.

      Federal Rule of Evidence 702, which governs the admissibility of expert testimony,

provides:

             A witness who is qualified as an expert by knowledge, skill,
      experience, training, or education may testify in the form of an opinion or
      otherwise if:
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       (a)    The expert’s scientific, technical, or other specialized knowledge will
       help the trier of fact to understand the evidence or to determine a fact in issue;
       (b)    The testimony is based on sufficient facts or data;
       (c)    The testimony is the product of reliable principles and methods; and
       (d)    The expert has reliably applied the principles and methods to the facts
       of the case.

Fed. R. Evid. 702; see also Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579,

592–97 (1993); Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141–42 (1999). Rule 702

instructs courts “to admit specialized knowledge if it will assist the trier of fact in

understanding the evidence [and] ... dictates a common-sense inquiry of whether a juror

would be able to understand the evidence without specialized knowledge concerning the

subject.” United States v. McDonald, 933 F.2d 1519, 1522 (10th Cir. 1991). “The

proponent of the evidence has the burden of showing that expert evidence is admissible,

by a preponderance of proof.” United States v. McCluskey, 954 F. Supp. 2d 1224, 1237

(D.N.M. 2013) (citing Daubert, 509 U.S. at 592 n.10; United States v. Orr, 692 F.3d 1079,

1091 (10th Cir. 2012)).

      “The trial court has ‘wide latitude’ in exercising its discretion to admit or exclude

expert testimony.” Id. (quoting Bitler v. A.O. Smith Corp., 400 F.3d 1227, 1232 (10th Cir.

2004)). “The Federal Rules encourage the admission of expert testimony[,]” and there is a

presumption under the Rules “ ‘that expert testimony is admissible.’ ” McCluskey, 954 F.

Supp. 2d at 1238 (quoting 4 Jack B. Weinstein & Margaret A. Berger, Weinstein’s Federal

Evidence § 702.02[1], at 702-5 (Joseph M. McLaughlin, ed., Matthew Bender 2d ed.

2012)). Rather than excluding expert testimony, the Supreme Court encourages “[v]igorous

cross-examination, presentation of contrary evidence, and careful instruction on the burden


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of proof” to attack “shaky but admissible evidence.” Daubert, 509 U.S. at 596 (internal

citation omitted).

       Plaintiffs filed this action on May 28, 2019, as representatives of the Estate of Isaiah

Mark Lewis, alleging three counts under 42 U.S.C. § 1983: excessive use of force, a Monell

violation, and an equal protection violation. Doc. No. 1, pp. 5, 6, 11. Plaintiffs allege that

the Edmond Police Department inadequately trained its officers and that the inadequate

training led to Officer Denton Scherman and Milo Box using excessive force during the

encounter that ended in Lewis’s death. Doc. No. 1, pp. 4–10. The parties dispute the mental

state of Lewis, the factual circumstances surrounding the encounter, and whether the

officers’ actions conformed with widely accepted police practices. Doc. Nos. 64–65, 82–

83. Plaintiffs and Defendants retained experts to assist the jury in resolving these disputes,

and both parties filed these Daubert motions seeking to exclude such testimony. For the

reasons set forth below, the Court finds each expert should be permitted to testify.

       First, Defendants challenge Plaintiffs’ expert Dr. James Filkins, asserting that his

testimony attempts to “invade the province of the jury by addressing witness credibility.”

Doc. No. 62, p. 3. Dr. Filkins seeks to testify that his assessment of Lewis’s gunshot

wounds is inconsistent with Officer Scherman’s testimony that he shot Lewis when Lewis

was within one or two feet of him. Doc. No. 62-1, p. 7. Dr. Filkins’ opinion relies, among

other things, on his review of autopsy reports and photographs, medical records, and

toxicology reports. Doc. No. 62-1, pp. 1–2. His review led him to conclude that the

encounter between Lewis and Officer Scherman occurred differently than Scherman

recalls. Doc. No. 62-1, p. 7. The Court finds that Dr. Filkins’s proposed testimony consists

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of the type of “specialized knowledge […] that will assist the jury in understanding whether

[the Defendants] version of events is accurate, a fact at issue in this trial.” See, e.g., United

States v. Harry, 20 F. Supp. 3d 1196, 1239 (D.N.M. 2014). Accordingly, Defendants’

motion, Doc. No. 62, is hereby DENIED.

       Second, Defendants assert that Plaintiffs’ expert Gregory Gilbertson seeks to offer

opinions that not only draw impermissible legal conclusions, but that are within the

competence of a lay juror, replete with credibility determinations, and nothing more than

speculation and subjective beliefs. Doc. No. 63, pp. 11–17. Gilbertson’s expertise includes

over thirty years of work as a police officer, SWAT team officer, criminal justice college

professor, and private investigator. Doc. No. 63-1, pp. 1–2. Relying on this expertise,

Gilbertson plans to testify about whether the Defendants’ actions aligned with nationally

accepted police practices and standards. Doc. No. 78, p. 1.

       Similarly, Plaintiffs argue that the opinions of Defendants’ police expert Steve

Ijames should be excluded because his opinions “lack reliable methodology” and

improperly invade the province of the jury. Doc. No. 67, pp. 3–8. Like Gilbertson, Ijames’s

extensive career in law enforcement clearly qualifies him as an expert. Both Gilbertson and

Ijames will address whether the officers in this case acted in accordance with widely

accepted police officer standards. The Court finds such testimony is clearly helpful to the

factfinder in evaluating the facts at issue in this trial. Therefore, Defendants’ and Plaintiffs’

motions, Doc. Nos. 63 and 67, are hereby DENIED.

       Lastly, Plaintiffs challenge the testimony of Defendants’ expert Thomas C. Kupiec,

who seeks to testify that the levels of THC in Isaiah Lewis’s body at the time of the accident

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contributed to his behavior. Doc. No. 68. Plaintiffs argue that what contributed to Isaiah

Lewis’s state of mind is irrelevant because it provides evidence beyond the facts and

circumstances known to the officers interacting with Lewis at the time of the incident. Doc.

No. 68, p. 2. The Defendants respond that the Plaintiffs opened the door for this evidence

by urging that “Lewis was experiencing mental health issues at the time of the incident,

while also acknowledging that he may have been under the influence of narcotics.” Doc.

No. 76, p. 6. The Court finds that the admission of Kupiec’s testimony regarding Lewis’s

mental state is relevant to explain the type of behavior Lewis was exhibiting during the

incident and whether the officers’ perception of Lewis’s mental state is supported. For

these reasons, the purported testimony of Kupiec is helpful to the factfinder. Accordingly,

Plaintiffs’ motion, Doc. No. 68, is hereby DENIED.

       As noted above, each of the motions to exclude expert testimony, Doc. Nos. 62, 63,

67, and 68, is hereby DENIED.

       IT IS SO ORDERED on this 17th day of June 11, 2021.




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